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Lon A. Jenkins (4060)
Tami Gadd (12517)
MaryAnn Bride (13146)
Katherine T. Kang (14457)
OFFICE OF THE CHAPTER 13 TRUSTEE
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Salt Lake City, Utah 84111
Telephone: (801) 596-2884
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Email: utahtrusteemail@ch13ut.org

                              UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF UTAH


IN RE:                                              CASE NO: 20-24404
CHRISTOPHER PROCTOR
                                                    Chapter 13

                         Debtor                     Hon. JOEL T. MARKER
                               CHAPTER 13 TRUSTEE'S OBJECTION TO
                                CLAIM NO. 3 OF Utah Transit Authority


         Pursuant to 11 U.S.C. § 502 and Bankruptcy Rule 3007, Lon A. Jenkins, Standing Chapter 13
Trustee, (“Trustee”) hereby objects to Claim No. 3 (hereinafter the "Claim") of Utah Transit Authority
(hereinafter the “Creditor”). In support of his objection, the Trustee states as follows:
        1. The Debtor filed a Chapter 13 petition on July 21, 2020, and the Court confirmed the Debtor's plan
on November 24, 2020.
        2. As set forth in the attached exhibit, the Creditor has represented to the Trustee that it no longer

asserts a claim against the bankruptcy estate.
        3. At this time, the Trustee does not object to the Creditor’s retention of any prior disbursements

made by the Trustee on this Claim.
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         WHEREFORE, the Trustee moves the Court for an order reducing the Creditor’s Claim to $0.00 and
authorizing the Trustee to not make any further disbursements on this Claim, effective as of the date of the
attached exhibit.

Dated: 10/6/2022                                        LAJ /S/
                                                        LON A. JENKINS
                                                        CHAPTER 13 TRUSTEE

                                          CERTIFICATE OF MAILING

     The undersigned hereby certifies that true and correct copy of the foregoing Trustee's Objection to
 Claim was served upon all persons entitled to receive notice in this case via ECF notification or by First
 Class U.S. Mail to the following parties on October 06, 2022:
CHRISTOPHER PROCTOR, PO BOX 520009,SALT LAKE CITY, UT 84152-0009


JUSTIN O. BURTON, ECF Notification
Utah Attorney General, 160 E 300 S, Salt Lake City, UT 84114

UTA Attention Claims Recovery, 669 W 200 S, Salt Lake City, UT 84101



                                                        /s/ Michelle Moses




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Michelle Moses

From:                             Utah trusteemail
Sent:                             Thursday, October 6, 2022 9:32 AM
To:                               Michelle Moses
Subject:                          FW: 20-24404 Proctor, Chris acnt 8958/4720 ; UTA recovery file #gl-44720
Attachments:                      PDR to PGR for PD limits ; gl-44720.pdf

Importance:                       High



From: Moody, Lynnette (Recovery Adjuster) <LMoody@rideuta.com>
Sent: Thursday, September 29, 2022 11:43 AM
To: Utah trusteemail <utahtrusteemail@ch13ut.org>
Subject: Proctor, Chris acnt 8958/4720 ; UTA recovery file #gl-44720
Importance: High

Dear Law Office,

UTA recently received check #793472 for $16.86 regarding Christopher Proctor, your case #2024404.

Attached is a Property Damage Release UTA authorized on January 25th, 2021 in conjunction with Insurance Claim # 19-
1700309.
Please respond in kind with applicable bankruptcy judgement ruling(s) indicating Mr. Proctor’s debt to Utah Transit
Authority is ordered by the court &/or agreed upon by Mr. Proctor &/or his representatives.

Thank you for your assistance with this matter.
Respectfully,




Lynnette Moody
Recovery Adjuster
Risk Management
Utah Transit Authority
801.287.4616 (Phone)
801.287.4520 (Fax)
lmoody@rideuta.com

669 W. 200 South
Salt Lake City, UT 84101
www.rideuta.com




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message in error, please notify the sender immediately by e-mail and delete &/or destroy all copies of his message.

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